Case 1:17-cr-10105-STA        Document 270     Filed 04/19/19     Page 1 of 1     PageID 978




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                              EASTERN DIVISION
 _____________________________________________________________________________

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                        Cr. No. 17-CR-10105-STA

 VIRGINIA TORRES,

             Defendant.
 ______________________________________________________________________________

                      ORDER AND NOTICE OF RESETTING
 ______________________________________________________________________________

        Upon the Agreed Motion of the Defendant and the United States Attorney to Continue

 the April 23, 2019 sentencing hearing;

        IT IS HEREBY ORDERED that the Defendant’s sentencing hearing be and hereby is

 continued to May 31, 2019 at 9:00 a.m.




                                           s/S. Thomas Anderson
                                           S. THOMAS ANDERSON
                                           CHIEF U.S. DISTRICT JUDGE

                                           Date: 4/19/19
